           Case 6:18-cv-01207-MK               Document 21      Filed 04/05/19    Page 1 of 2




                               UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON




                                                                 Case No.: 6:18-cv-01207-TC
 STACEY RANDALL
                                Plaintiff(s),

v.


COTTAGE GROVE CHEVROLET, INC.
                        Defendant(s).
______________________________________


                          Consent to Jurisdiction by a Magistrate Judge
                          and Designation of the Normal Appeal Route

        Pursuant to Fed. R. Civ. P 73(b), as counsel for the party (parties) identified below, I
consent to have a United States Magistrate Judge conduct any and all proceedings in this case,
including entry of orders on dispositive motions, trial, and entry of final judgment. I understand
that withholding consent will not result in any adverse consequences. Pursuant to Fed. R. Civ. P.
73(c), I agree that an appeal from a judgment entered at a Magistrate Judge's direction may be
taken to the court of appeals as would any other appeal from a district court judgment.
         04/05/2019
Dated:                                     .



                             Signature:
                                           Eric Skip Winters, OSB No. 944669
              Name and Bar Number:
                                           winters@bodyfeltmount.com
                       E-mail Address:
                                           Bodyfelt Mount LLP
                           Firm Name:
                                           319 SW Washington Street, Suite 1200
                      Mailing Address:
                                           Portland, OR 97204
                       City, State, Zip:
                                           Defendant
                  Party Represented:


 [Rev. 01/2018]
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         Case 6:18-cv-01207-TC             Document 2        Filed 07/06/18               Page 6 of 7




                                 UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON



STACEY RANDALL                                                         Case No.: 6:18-cv-01207-TC
     Plaintiff,

v.

COTTAGE GROVE CHEVROLET, INC.
     Defendant.


                              Consent to Jurisdiction by a Magistrate Judge
                              and Designation of the Normal A1meal Route

      Pursuant to Fed. R. Civ. P 73(b), as counsel for the party (parties) identified below, I consent to
have a United States Magistrate Judge conduct any and all proceedings in this case, including entry of
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         Parties Represented: _,p'-\=l\-1.-\"-""'"-~--~¼\...,___ _ _ _ _ _ _ _ _ _ _ _ __
